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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

GARY FUGITT,

           Plaintiff,

v.                                      Case No.: 8:17-cv-01961-VMC-TBM

BLUESTEM BRANDS, INC.,

           Defendant.
                               /

                             MEDIATION REPORT

      In accordance with the Court’s mediation order, a mediation
conference was held on January 8, 2018.    Plaintiff and his trial
counsel, and Defendant’s corporate representative and trial counsel
attended and participated.
      The case has been completely settled.
      Done January 8, 2018 in Tampa, Florida.
                                   Respectfully submitted,


                                   /s/ Peter J. Grilli
                                   Peter J. Grilli, Esq.
                                   Florida Bar No. 237851
                                   Mediator
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     I HEREBY CERTIFY that January 8, 2018 I electronically filed the
foregoing document with the United States District Court Electronic
Case Filing system, which will electronically send copies to counsel of
record.


                                        /s/ Peter J. Grilli
                                        Peter J. Grilli, Esq.
